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United States of America,

-against- (S4) 22-CR-673-04(LAK)

Nishad Singh (04),
Defendant.

Order

LEWIS A. KAPLAN, District Judge.

Upon the application of the United States, and with the consent of the defendant,
redacted copies of the (S4) superseding information and the Consent Preliminary Order of
Forfeiture as to Specific Property shall be filed on the public docket and the unredacted
originals of each document shall be kept by the Clerk of Court under seal pending further order

of this Court.
SO ORDERED.

Dated: February 28, 2023

 

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Lewis A. Kaplan

United States District Judge
